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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND


In re:                                                      Case No. 18-1-5188
         PEDRO J PUMA

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Timothy P. Branigan, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 04/18/2018.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 07/10/2018.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor                    $25.00
           Less amount refunded to debtor                              $25.00

NET RECEIPTS:                                                                                         $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $0.00
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                          $0.00
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                     $0.00

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                          Claim      Claim           Claim        Principal    Int.
Name                                Class       Scheduled   Asserted        Allowed         Paid       Paid




Summary of Disbursements to Creditors:
                                                              Claim             Principal             Interest
                                                            Allowed                 Paid                 Paid
Secured Payments:
      Mortgage Ongoing                                        $0.00                   $0.00            $0.00
      Mortgage Arrearage                                      $0.00                   $0.00            $0.00
      Debt Secured by Vehicle                                 $0.00                   $0.00            $0.00
      All Other Secured                                       $0.00                   $0.00            $0.00
TOTAL SECURED:                                                $0.00                   $0.00            $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00                   $0.00            $0.00
       Domestic Support Ongoing                               $0.00                   $0.00            $0.00
       All Other Priority                                     $0.00                   $0.00            $0.00
TOTAL PRIORITY:                                               $0.00                   $0.00            $0.00

GENERAL UNSECURED PAYMENTS:                                   $0.00                   $0.00            $0.00



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Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                             $0.00


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 08/08/2018                             By:/s/ Timothy P. Branigan
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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